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(Rev. 12/04) FILED IN CHAMBERS
U.S.D.C. - Atlanta

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UNITED STATES DISTRICT COURT MAR 2% 2023

Kevi y WeIferClerk
for By: u

Northern District of Georgia

U.S.A. vs. Kristopher Kneubuhler Docket No. 1:23-CR-047-1

Petition for Action on Conditions of Pretrial Release

COMES NOW Abnel Albaladejo-Torres , pretrial services/probation officer, presenting
an official report upon the conduct of defendant Kristopher Kneubuhler , who was
placed under pretrial release supervision by the Honorable Catherine M. Salinas , sitting in
the court at Atlanta, Georgia on the 12 date of January : 2023

under the following conditions:

$100,000 Unsecured Bond

Must not violate federal, state, or local law while on release in this case.

Cooperate in the collection of a DNA sample if it is authorized.

Advise the court or pretrial services office in writing before making any change in address or telephone number.

The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that the
court may impose.

The defendant is placed in the custody of: Deborah Kneubuhler

Submit to Supervision and Report to pretrial services.

Maintain or Actively seek employment

Not to obtain a passport or other international travel documents.

Abide by the following restrictions on personal association, residence or travel: Northern District of Georgia and must
reside at mother’s residence.

Avoid all contact, directly or indirectly, with any person who is or may become a victim or witness in the investigation or
prosecution including witnesses and no contact with minor children.

Get medical or psychiatric treatment if pretrial services believe it’s needed.

Not fo possess a firearm, destructive device, or other dangerous weapons or ammunition.

Not to use alcohol excessively.

Not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless lawfully
prescribed by a licensed medical practitioner.

Participate in the location restriction program in the Home Detention component.

Must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
supervising officer.

Report as soon as possible, to the pretrial services or supervising officer, every contact with law enforcement personnel,
inckaiding arrests, questioning, or traffic stops.

No contact with his own children except by facetime until further order.

Participate in a program of specialized treatment for defendant’s charged with a sex offense.

No possession of any pornographic material — adult otherwise.

Search condition

Submit to polygraph examinations

Prohibited from accessing the internet or using a computer or other electronic device, other than a computer that are
equipped with IPPC software for work during business hours. (9-5, M-F). No smartphones or laptops. TV is limited to
cable. No streaming.

Calis with children must be conducted using custodian’s phone while the custodian is in the vicinity.
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RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation No. 1: Defendant prohibited from accessing the internet or using computer or other electronic device, other than a
computer that are equipped with IPPC software for work hours. TV is limited to cable. No streaming:

A. On March 22, 2023, this officer was conducting a review of the IPPC software report and noticed unauthorized access to
internet or streaming services. The review revealed that on March 9, 2023, the defendant accessed roku.com/login which is a
streaming service site without permission.

B. On March 20, 2023 at 1:13pm, the defendant entered www.google.com search website searching specifically for Georgia
Amber alerts. On this same day the defendant accessed www.youtube.com and searched Amber Alert Awareness Day video
at: https://www.youtube.com/embed/EDrbqeGTThA ?autoplay=0&start=0&rel=0

PRAYING THAT THE COURT WILL ORDER a Summons issued for Kristopher Kneubuhler to appear before the
Court at Atlanta, to show cause why his pretrial bond supervision should not be revoked. Hear iy held om 3 [oul 23.

No summa nveds +s he tssmwd.

ORDER OF COURT I declare under penalty of perjury that the foregoing
is true and correct.
Considered and ordered this oe yt day of Executed on March 22, 2023
208 3 and ordered filed
and made a part of the records in the above case. AMhnel Ab baladyss Sarres”

Af Al A pre U.S. Pretrial Services/Probation Officer *
The Honorable Catherine M. Salinas
U.S. District Magistrate Judge

Place Atlanta, Georgia

